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 1                                  NOT FOR PUBLICATION
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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   Sandra Brantley,                                 No. CV-17-03356-PHX-JJT
10                 Plaintiff,                         ORDER
11   v.
12   Trans Union LLC,
13                 Defendant.
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16           Upon review of the parties’ Stipulation for Dismissal With Prejudice (Doc. 19),
17   and good cause appearing,
18           IT IS ORDERED granting the Stipulation (Doc. 19). The above-entitled matter is
19   hereby dismissed with prejudice, the parties to bear their own costs and attorneys’ fees.
20           IT IS FURTHER ORDERED vacating the Rule 16 Scheduling Conference
21   scheduled for 2:30 p.m. on January 23, 2018.
22           IT IS FURTHER ORDERED directing the Clerk to close this matter.
23           Dated this 23rd day of January, 2018.
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25
                                          Honorable John J. Tuchi
26                                        United States District Judge
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